                 Case 21-51179-CSS             Doc 5   Filed 11/09/21   Page 1 of 7


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
 In re:                                                          Chapter 11
 ASHINC Corporation, et al.,
                                                                 Case No. 12-11564 (CSS)
                                  Debtors.                       (Jointly Administered)
 CATHERINE E. YOUNGMAN, LITIGATION TRUSTEE FOR
 ASHINC CORPORATION, ET AL., AS SUCCESSOR TO THE
 OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
 ASHINC CORPORATION, AND ITS AFFILIATED DEBTORS,

                                                                 Adv. Proc. No. 21-51179 (CSS)
                                  Plaintiff,
                          v.
 YUCAIPA AMERICAN ALLIANCE FUND I, LLC, YUCAIPA
 AMERICAN MANAGEMENT, LLC, AMERICAN AIRLINES
 MASTER FIXED BENEFIT PENSION PLAN TRUST,
 AMERICAN PRIVATE EQUITY PARTNERS II, LP,
 AUTOMOTIVE MACHINISTS PENSION TRUST, BOARD OF
 FIRE AND POLICE PENSION COMMISSIONERS OF THE CITY
 OF LOS ANGELES, CALIFORNIA PUBLIC EMPLOYEES’
 RETIREMENT SYSTEM, CARPENTERS PENSION TRUST
 FUND FOR NORTHERN CALIFORNIA, COLLER PARTNERS
 702 LP INCORPORATED, CLOUSE S.A., CONSOLIDATED
 RETIREMENT FUND, IAM PRIVATE EQUITY, LLC, ILGWU
 DEATH BENEFIT FUND 4, INTERNATIONAL SIF SICAV SA,
 LOCALS 302 & 612 OF THE INTERNATIONAL UNION OF
 OPERATING ENGINEERS – EMPLOYERS CONSTRUCTION
 INDUSTRY RETIREMENT TRUST, LOS ANGELES CITY
 EMPLOYEES’ RETIREMENT SYSTEM, NATIONAL
 RETIREMENT FUND, NEW MEXICO STATE INVESTMENT
 COUNCIL, NEW MEXICO STATE INVESTMENT COUNCIL
 LAND GRANT PERMANENT FUND, NEW MEXICO STATE
 INVESTMENT COUNCIL SEVERANCE TAX PERMANENT
 FUND, NEW YORK CITY EMPLOYEES’ RETIREMENT
 SYSTEM, NEW YORK CITY FIRE DEPARTMENT PENSION
 FUND, NEW YORK CITY POLICE PENSION FUND,
 NORTHEAST CARPENTERS PENSION FUND, PACIFIC COAST
 ROOFERS PENSION PLAN, SANBA II INVESTMENT
 AUTHORITY, STATE STREET BANK AND TRUST COMPANY
 (AS TRUSTEE ON BEHALF OF AMERICAN AIRLINES
 MASTER FIXED BENEFIT PENSION PLAN TRUST);
 STEAMSHIP TRADE ASSOCIATION OF BALTIMORE, INC. –
 INTERNATIONAL LONGSHOREMEN’S ASSOCIATION (AFL-
 CIO) PENSION FUND, TEACHERS’ RETIREMENT SYSTEM OF
 THE CITY OF NEW YORK, UNITED FOOD AND
 COMMERCIAL WORKERS INTERNATIONAL UNION
 PENSION PLAN FOR EMPLOYEES, WESTERN CONFERENCE
 OF TEAMSTERS PENSION TRUST

                          Defendants.



                 NOTICE OF RESCHEDULED PRE-TRIAL CONFERENCE




127875094.1
               Case 21-51179-CSS         Doc 5   Filed 11/09/21   Page 2 of 7




        PLEASE TAKE NOTICE that, at the request of the Court, the pre-trial conference in the

above-captioned adversary proceeding initially scheduled for December 10, 2021 at 11:00 a.m.

has been rescheduled to December 8, 2021 at 11:00 a.m. before the Honorable Christopher S.

Sontichi, United States Bankruptcy Judge, United States Bankruptcy Court for the District of

Delaware, 824 N. Market Street North, 5th Floor, Courtroom 6, Wilmington, DE 19801.



Dated: November 9, 2021
       Wilmington, DE


                                           FOX ROTHSCHILD LLP


                                   By:      /s/ Seth A. Niederman
                                           Seth A. Niederman (DE Bar No. 4588)
                                           Citizens Bank Center
                                           919 N. Market Street, Suite 300
                                           Wilmington, DE 19801
                                           Tel.: (302) 654-7444
                                           Fax: (302) 656-8920
                                           sniederman@foxrothschild.com




127875094.1
                 Case 21-51179-CSS       Doc 5    Filed 11/09/21     Page 3 of 7




                                     Certificate of Service


        I, Seth A. Niederman, hereby certify that on November 9, 2021, a true and correct copy of

the Notice of Rescheduled Pre-Trial Conference was served upon all parties on the annexed service

list via first class mail.



                                             /s/ Seth A. Niederman
                                             Seth A. Niederman (No. 4588)




127875094.1
              Case 21-51179-CSS   Doc 5   Filed 11/09/21   Page 4 of 7




                                  Service List

YUCAIPA AMERICAN ALLIANCE FUND I, LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

YUCAIPA AMERICAN MANAGEMENT, LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

AMERICAN AIRLINES MASTER FIXED BENEFIT PENSION PLAN TRUST
1 Skyview Dr.
Fort Worth, TX, 76155
Attn: Loral Blinde, Pension Executive & Vice President

AMERICAN PRIVATE EQUITY PARTNERS II, LP
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

AUTOMOTIVE MACHINISTS PENSION TRUST
WPAS, Inc.
7525 SE 24th Street, Suite 200
Mercer Island WA, 98040
Attn: Rick Hansen, Plan Administrator

BOARD OF FIRE AND POLICE PENSION COMMISSIONERS OF THE CITY OF LOS
ANGELES
701 East 3rd Street, Suite 200
Los Angeles, CA 90013
Attn: Brian Pendleton, President

CALIFORNIA PUBLIC EMPLOYEES’ RETIREMENT SYSTEM
Lincoln Plaza East
400 Q Street, Room 1820,
Sacramento, CA 95811
Attn: Matthew Jacobs, General Counsel




127875094.1
               Case 21-51179-CSS            Doc 5   Filed 11/09/21   Page 5 of 7




CARPENTERS PENSION TRUST FUND FOR NORTHERN CALIFORNIA
265 Hegenberger Rd, Suite 100
Oakland, CA 94621
Attn: Gene Price, Registered Agent

CONSOLIDATED RETIREMENT FUND
333 Westchester Ave.
White Plains, NY 10604
Attn: Legal Department

IAM PRIVATE EQUITY, LLC
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

ILGWU DEATH BENEFIT FUND 4
333 Westchester Ave.
White Plains, NY 10604
Attn: Michael Hirsch, Plan Administrator

LOCALS 302 & 612 OF THE INTERNATIONAL UNION OF OPERATING ENGINEERS –
EMPLOYERS CONSTRUCTION INDUSTRY RETIREMENT TRUST
WPAS, Inc.,
7525 SE 24th Street, Suite 200
Mercer Island WA, 98040
Attn: Andrew Ledbetter, Plan Administrator

LOS ANGELES CITY EMPLOYEES’ RETIREMENT SYSTEM
202 W. First Street, Suite 500
Los Angeles, CA 90012
Attn: Neil Guglielmo, General Manager

NATIONAL RETIREMENT FUND
333 Westchester Ave.
White Plains, NY 10604
Attn: Victoria Sartor, Plan Administrator

NEW MEXICO STATE INVESTMENT COUNCIL
2055 South Pacheco Street, Suite 100
Santa Fe, NM 87505
Attn: Legal Department

NEW MEXICO STATE INVESTMENT COUNCIL LAND GRANT PERMANENT FUND
2055 South Pacheco Street, Suite 100
Santa Fe, NM 87505




127875094.1
              Case 21-51179-CSS       Doc 5   Filed 11/09/21   Page 6 of 7




NEW MEXICO STATE INVESTMENT COUNCIL SEVERANCE TAX PERMANENT FUND
2055 South Pacheco Street, Suite 100
Santa Fe, NM 87505

NEW YORK CITY EMPLOYEES’ RETIREMENT SYSTEM
335 Adams Street, Suite 2300
Brooklyn, NY 11201-3724
Attn: Executive Director: Melanie Whinnery

NEW YORK CITY FIRE DEPARTMENT PENSION FUND
One Battery Park Plaza, 9th Floor
New York, N.Y. 10004
Attn: City Comptroller: Scott Stringer

NEW YORK CITY POLICE PENSION FUND
233 Broadway, 25th Floor
New York, NY 10279
Attn: Alex Done Chief Investment Officer & Deputy Comptroller for Asset Management

NORTHEAST CARPENTERS PENSION FUND
c/o Pete Tonia, Registered Agent
91 Fieldcrest Ave., 3rd Floor
Edison, NJ 08837

PACIFIC COAST ROOFERS PENSION PLAN
6800 Santa Teresa Blvd, Ste 100
San Jose, CA 95119
Attn: Legal Department

STATE STREET BANK AND TRUST COMPANY (AS TRUSTEE ON BEHALF OF
AMERICAN AIRLINES MASTER FIXED BENEFIT PENSION PLAN TRUST)
One Lincoln Street
Boston, Massachusetts 02111
Attn: Legal Department

STEAMSHIP TRADE ASSOCIATION OF BALTIMORE, INC. – INTERNATIONAL
LONGSHOREMEN’S ASSOCIATION (AFL-CIO) PENSION FUND
6610 Tributary Street,
Baltimore, MD 21224
Attn: Richard Krueger Jr., Plan Administrator

TEACHERS’ RETIREMENT SYSTEM OF THE CITY OF NEW YORK,
10 Corporate Woods Drive,
Albany, NY 12211-2395
Attn: Joseph J. Indelicato Jr., General Counsel




127875094.1
              Case 21-51179-CSS       Doc 5    Filed 11/09/21    Page 7 of 7




UNITED FOOD AND COMMERCIAL WORKERS INTERNATIONAL UNION PENSION
PLAN FOR EMPLOYEES,
1775 K Street Northwest
Washington, DC 20006
Attn: Anthony Perone, International President and Plan Administrator:

WESTERN CONFERENCE OF TEAMSTERS PENSION TRUST
2323 Eastlake Avenue East
Seattle, WA 98102
Attn: Edward Lenhart, Plan Trustee and Chairman of the Employer Trustees




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